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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                   CASE NUMBER:


  BRYCE ABBINK                                                       8:19−cv−01257−JFW−PJW
                                                   Plaintiff(s),

           v.
  EXPERIAN INFOMATION SOLUTIONS INC, et
  al.                                                                NOTICE TO FILER OF DEFICIENCIES IN
                                                 Defendant(s).
                                                                     ELECTRONICALLY FILED DOCUMENTS




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                                                      Deputy Clerk

  cc: Assigned District Judge and/or Magistrate Judge

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